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                                                            U.S. Department of Justice




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Mr. Gregory J. Linhares, Clerk
United States District Court
111 S. 10th Street
St. Louis, MO 63102

          Re:        United States v. William Douglas Haning
                     4:18 CR 00139 RWS JMB

Mr. Linhares:

       The indictment above returned by the United States Grand Jury in the above captioned
case on February 14, 2018, was ordered suppressed pending the apprehension of the defendant
named herein.

        We are now informed that the indictment regarding the above defendant is no longer in
need of being suppressed, therefore, the suppression of the indictment may be lifted. It is,
therefore, directed that such be done.


                                            Very truly yours,

                                            JEFFERSON SESSIONS
                                            United States Attorney General
                                            TIMOTHY GARRISON
                                            United States Attorney
                                            WESTERN DISTRICT OF MISSOURI
